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                       UNTIED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                       LAFAYETTE-OPELOUSAS DIVISION

   LEAM DRILLING SYSTEMS, INC.      *     CIVIL ACTION NO. 6:10-cv-01698
   and LIBERTY MUTUAL               *
   INSURANCE COMPANY                *
                                    *
   VERSUS                           *     JUDGE DOHERTY
                                    *
   PETROHAWK ENERGY                 *
   CORPORATION and CHUBB            *     MAGISTRATE JUDGE HILL
   & SON, A DIVISION OF FEDERAL     *
   INSURANCE COMPANY                *
   **********************************************************************

             MEMORANDUM IN SUPPORT OF MOTION TO
           DISMISS OR, ALTERNATIVELY, MOTION TO STAY
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   MAY IT PLEASE THE COURT:

          Defendant, Federal Insurance Company (“Federal”), has moved to dismiss without

   prejudice or, alternatively, to stay the Complaint for Declaratory Relief filed by plaintiffs,

   Leam Drilling Systems, Inc. (Leam”) and Liberty Mutual Insurance Company (“Liberty

   Mutual”), because: (1) the court’s jurisdiction under the Declaratory Judgment Acts [28

   U.S.C. § 2201] is discretionary; and (2) the United States Supreme Court and the U.S. Fifth

   Circuit Court of Appeal instruct that such discretionary jurisdiction should not be exercised

   when, as here, no federal questions are presented, a parallel state court proceeding is pending

   in Texas in which all of the issues of state law can be litigated, and determination of all

   issues in a single forum best serves the interests of federalism, fairness and efficiency.

   I.     BACKGROUND INFORMATION

          Leam entered into a contract with Petrohawk to conduct a directional drilling

   operation. Under the terms of the contract, Leam is required to defend and indemnify

   Petrohawk from and against any and all bodily injury claims arising out of the contract that

   are asserted by Leam’s employees. The contract also requires Leam to maintain insurance

   covering its contractual obligations and to have Petrohawk named as an additional insured

   in those policies.

          On or about August 24, 2009, Jared Geisler was allegedly injured during the course

   of his employment with Leam while conducting work under the contract Leam had with

   Petrohawk. Geisler filed suit in the 319th District Court for the County of Nueces on or about



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   July 20, 2010 (“Geisler lawsuit”) to recover damages for the alleged injures he sustained.

   Claims are made therein by the Geislers against Texas Equipment Rental, LLC, Nabors

   Drilling USA, LP., Vaughn Energy Services, LP, and Petrohawk.1

          Upon receipt of the Geisler lawsuit, Petrohawk notified its general liability insurer,

   Federal, of the claim. Federal, in turn, tendered the defense and indemnity of Petrohawk to

   Leam’s general liability insurer, Liberty Mutual. After agreeing to defend Petrohawk under

   a reservation of rights, on or about October 9, 2010 Leam and Liberty Mutual filed this

   Declaratory Judgment suit for the purpose of having this Court determine its obligations

   under the contract. (R. Doc. 1.) The same determinations are also sought within the Geisler

   lawsuit that is presently pending before the Texas state court.2 On or about December 6,

   2010, Petrohawk filed a Third Party Petition against Leam seeking a determination that it is

   entitled to indemnity and additional insured status under its contract with Leam. Petrohawk

   recently learned the Texas trial court had erred by not issuing citation at that time. That error

   was recently corrected and service is expected in the near future.

          Federal asks this Court to abstain from exercising its discretionary jurisdiction and

   thereby dismiss without prejudice Leam’s and Liberty Mutual’s Complaint for Declaratory

   Judgment or, in the alternative, to stay this matter in deference to the state court proceeding

   pending in Neuces County, Texas.



          1
              Attached as Exhibit A to this memorandum.
          2
              See Third Party Petition, attached as Exhibit B.

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   II.    LAW AND ARGUMENT

          Dismissal or stay of this action is warranted upon consideration of the Trejo 3 factors

   of federalism, fairness and efficiency. This federal declaratory judgment action involves

   only state law issues and a parallel state court suit is pending in which all issues may be

   determined. Under the circumstances in this case, the District Court should exercise its

   discretionary jurisdiction and dismiss or stay the matter.

          A.       The Jurisdiction Afforded under the Declaratory Judgment Act Is
                   Discretionary.

          Leam and Liberty Mutual asserted this action pursuant to the provisions of the

   Declaratory Judgments Act (28 U.S.C. § 2201). The Declaratory Judgments Act provides

   a permissive grant of authority on federal courts to declare rights of an interested party in a

   case of actual controversy within its jurisdiction. It provides that “[i]n a case of actual

   controversy within its jurisdiction ... any court of the United States ... may declare the rights

   and other legal relations of any interested party seeking such declaration.” 28 U.S.C. §

   2201(a) (emphasis added). The Declaratory Judgement Act is properly understood as

   “confer[ing] on federal courts unique and substantial discretion in deciding whether to

   declare the rights of litigants.” Wilton v. Seven Falls Co., 515 U.S. 277, 286, 115 S.Ct. 2137,

   132 L.Ed.2d 214 (1995) (emphasis added). Given the discretionary nature of the grant of

   jurisdiction, a federal district court is under no compulsion to exercise its jurisdiction in




          3
              St. Paul Ins. Co. v. Trejo, 39 F.3d 585 (5th Cir. 1984).

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   declaratory judgment suits. Brilhart v. Excess Ins. Co. of America, 316 U.S. 491, 495, 62 S.

   Ct. 1173, 1175, 86 L. Ed. 1620 (1942).

          More than sixty years ago, the United States Supreme Court set forth the general rule

   that a federal court should not proceed with a declaratory judgment action when a pending

   state court suit presents the same state law issues between the same parties:

          Ordinarily it would be uneconomical as well as vexatious for a federal court
          to proceed in a declaratory judgment suit where another suit is pending in a
          state court presenting the same issues, not governed by federal law, between
          the same parties. Gratuitous interference with the orderly and comprehensive
          disposition of a state court litigation should be avoided.

   316 U.S. at 495, 62 S.Ct. at 1175-76. According to the Brilhart Court, whenever a district court

   is presented with a declaratory judgment action under circumstances in which a parallel state

   court suit is pending, the court is to ascertain whether the questions in controversy between

   the parties are better determined in the state court proceeding, which inquiry may entail a

   determination of the scope of the state court proceeding, the defenses that may be raised, and

   whether the claims of all parties in interest can be adjudicated and the parties joined in that

   proceeding. Id.

          This discretionary standard was reiterated in Wilton v. Seven Falls Co., 515 U.S. 277,

   115 S.Ct. 2137, 132 L.Ed.2d 214 (1995), wherein the United States Supreme Court resolved

   the split in the appellate circuits concerning whether Brilhart’s discretionary standard or the

   “exceptional circumstances” test4 governed a District Court’s determination of its exercise


          4
            This test was developed in Colorado River Water Conservation Dist. v. United States, 424
   U.S. 800, 96 S.Ct. 1236, 47 L.Ed.2d 483 and Moses H. Cone Memorial Hosp. v. Mercury Constr.

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   of jurisdiction under the Declaratory Judgment Act. In applying the discretionary standard,

   the Court affirmed the stay of the declaratory judgment action because the state lawsuit

   encompassed the same coverage issue raised in the federal declaratory judgment action,

   would avoid piecemeal litigation and bar the insurer’s attempt at forum shopping. Id., 515

   U.S. at 280, 115 S.Ct. at 2139. Given federalism and comity concerns, the Court commented

   that “where another suit involving the same parties and presenting opportunity for ventilation

   of the same state law issues is pending in state court, a district court might be indulging in

   ‘gratuitous interference’ if it permitted the federal declaratory action to proceed.” Id., 515

   U.S. at 283, 115 S.Ct. at 2141, citing to Brillhart, supra, 316 U.S. at 495, 62 S.Ct. at 1176.

          In accordance therewith, in St. Paul Ins. Co. v. Trejo, 39 F.3d 585 (5th Cir. 1984), the

   United States Court of Appeals for the Fifth Circuit identified seven factors which guide a

   district court’s exercise of discretion over a declaratory judgment action:

          1.     whether there is a pending state action in which all of the matters in
                 controversy may be fully litigated;

          2.     whether the plaintiff filed suit in anticipation of a lawsuit filed by the
                 defendant;

          3.     whether the plaintiff engaged in forum shopping in bringing the suit;

          4.     whether possible inequities exist in allowing the declaratory plaintiff to
                 gain precedence in time or to change forums;

          5.     whether the federal court is a convenient forum for the parties and
                 witnesses;



   Corp., 460 U.S. 1, 103 S.Ct. 927, 74 L.Ed.2d 765 (1985).

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          6.     whether retaining the lawsuit in federal court would serve the purposes
                 of judicial economy; and

          7.     whether the federal court is being called on to construe a state judicial
                 decree involving the same parties and entered by the court before whom
                 the parallel state suit between the same parties is pending.

          The Fifth Circuit subsequently recognized that these factors “address three broad

   considerations: federalism, fairness/improper forum shopping, and efficiency.” The Sherwin-

   Williams Co. v. Holmes County, 343 F.3d 383, 389 (5th Cir.2003). The first consideration,

   federalism, favors dismissal or stay of the federal court declaratory judgment action when

   it “raises only issues of state law and a state case involving the same state law issues is

   pending.” Id. at 390-91. The second consideration, fairness, requires the court to consider

   the legitimacy of the reason for bringing the federal declaratory judgment action. Id. at 391.

   Dismissal of the federal action is favored under the third consideration, efficiency, if it would

   serve to “avoid duplicative or piecemeal litigation.” Id. Such duplicative litigation also

   raises federalism or comity concerns because it opens the door to potential inconsistent state

   and federal court judgments, a potential that exists especially when the litigation involves

   only state law issues. Id.

          B.     Discretionary Jurisdiction Should Not Be Exercised In This Case
                 Under the Trejo Factors.

          Application of the Trejo factors to the circumstances in this case show that this Court

   should not exercise its discretionary jurisdiction in this case and should either dismiss or stay

   the declaratory judgment complaint filed by Leam and Liberty Mutual.



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                  1.      Federalism Concern – Whether there is a pending state
                          action in which all of the matters in controversy may be fully
                          litigated.

          A state court suit is pending in this case. Jared Geisler filed his suit against Texas

   Equipment Rental, LLC, Nabors Drilling USA, LP., Vaughn Energy Services, LP, and

   Petrohawk in the 319th Judicial District Court, Neuces County, Texas, on or about July 20,

   2010. A third party demand was filed by Petrohawk against Leam in the Texas state court

   action on or about December 6, 2010.5 By way of the third party demand, Petrohawk seeks

   to obtain indemnification and defense from Leam under the terms of a Master Service

   Contract existing between them and as an additional insured under the coverage afforded to

   Leam for the claims and related injuries alleged by Jared Geisler. These are the same issues

   that Leam and Liberty Mutual assert in this federal declaratory judgment action. The issues

   presented in both suits involve only matters of state law.

          As noted in Rolls-Royce Naval Marine, Inc. v. A&B Indus. of Morgan City, Inc., 6:10-

   CV-00655, 2010 WL 3947327, *2 (W.D. La. 9/15/10), report and recommendation adopted

   sub nom., 2010 WL 3943553 (W.D. La. 10/6/10), this is “precisely the type of case in which

   the federal court should defer in favor of the related state court action.” Because only issues

   of state law are raised in the federal declaratory judgment action and a state court involving



          5
             Liberty Mutual and Leam’s federal declaratory judgment action pre-dated the filing
   of this third party demand by several weeks. In Sherwin-Williams, supra, the court found that
   the absence of any pending related state litigation could weigh against dismissal; however, this result
   is not warranted in this case given the prior existence of related state litigatin (i.e., the Geisler
   litigation) and the currently pending third party demand.

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   the same issues is pending, the general rule applies: “the state court should decide the case

   and the federal court should exercise its discretion to dismiss the federal suit.” Sherwin-

   Williams v. Holmes County, supra, 343 F.2d at 390-91. Of all the Trejo factors, this factor

   is “of paramount concern.” Rolls-Royce Naval Marine, Inc., supra, 2010 WL 3947327, *2,

   citing American Fidelity Ins. Co. v. Acadian Geophysical Serv., Inc., 1997 WL 786233, *2

   (E.D. La. 1997). This factor, therefore, weighs in favor of the court’s dismissal of this

   matter.

                 2.     Fairness Concerns – Did plaintiff file suit in anticipation of
                        a lawsuit filed by the defendant; Did plaintiff engage in
                        forum shopping in bringing the suit; Are there possible
                        inequities in allowing the declaratory plaintiff to gain
                        precedence in time or to change forums.

          The fairness concerns involve a consideration of the second, third and fourth Trejo

   factors. The facts in this case show that after the Geisler law suit was filed, Petrohawk

   notified its insurer, Federal, and Federal, in turn, on or about September 2, 2010, tendered

   the lawsuit to Leam and thereby sought defense, indemnity and additional insured status on

   Petrohawk’s behalf.6 More than two months later, on November 11, 2010, Liberty Mutual,

   on behalf of Leam, sent a reservation of rights letter to Petrohawk. Therein, Liberty Mutual

   denied that a defense or indemnity was owed, but nevertheless agreed to provide a defense




          6
           See September 2, 2010 letter from Federal to Leam, attached as Exhibit C to this
   memorandum.

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   to Petrohawk in the Geisler litigation pending in Texas.7 Two days before it sent the

   reservation of rights letter to Petrohawk, Liberty Mutual and Leam instituted the instant

   federal declaratory judgment action.8 Several weeks later, on December 6, 2010, Petrohawk

   filed its third party demand in the Texas state court action.

          Having received a demand for indemnity, defense and additional insured status for the

   claims asserted in the Geisler Texas state court action, it appears that Liberty Mutual and

   Leam filed the declaratory judgment in this forum in anticipation of the filing of a suit

   against Leam in state court. This factor, alone, does not mean Liberty Mutual or Leam

   engaged in impermissible forum shopping. See Sherwin-Williams Co., supra, 343 F.2d at

   397-400.

          However, potential inequities exist if Liberty Mutual and Leam are allowed to change

   forums in this case. In particular, choice of law considerations exist in this case with regard

   to the interpretation of the master service agreement and the determination of which state’s

   Oilfield Anti-Indemnity Act should apply. While Louisiana’s choice of law rules apply to the

   federal declaratory judgment action,9 Texas’ choice of law rules will apply to the Geisler

   litigation pending in Texas state court. The application of different choice of law rules




          7
             See November 11, 2010 letter from Liberty Mutual to Petrohawk, attached as Exhibit D
   to this memorandum.
          8
              See R.Doc. 1.
          9
             A federal court exercising diversity jurisdiction typically applies the choice of law rules
   of the forum state. Klaxon Co. v. Stentor Electric Mfg. Co., 313 U.S. 487, 61 S.Ct. 1020 (1941).

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   suggests the existence of “possible inequities in allowing the declaratory plaintiff to ...

   change forums.” See Sherwin-Williams Co., supra, 343 F.2d at 399 which, by negative

   implication, indicates the application of different laws could militate in favor of dismissing

   and/or staying the federal court action.

          Furthermore, this federal declaratory judgment action does not include all parties

   named in the Geisler litigation; in particular, it does not include Texas Equipment Rental,

   LLC, Nabors Drilling USA, LP., and Vaughn Energy Services, LP. To the extent any of

   these parties are necessary for a determination of the underlying facts in this case, their

   absence from this federal litigation presents an inequity that weighs in favor of dismissing

   or staying this federal declaratory judgment action. See Rolls-Royce Naval Marine, Inc.,

   supra, 2010 WL 3947327 at *3 (finding the critical element in the determination of whether

   inequities exist in changing forums is that the federal declaratory judgment action did not

   include all parties named in the state court suit, and that under such circumstances

   “permitting the federal court to move forward would, therefore create the very real possibility

   of inconsistent and/or incomplete rulings”).

          For all of these reasons, the Trejo fairness factors weigh in favor of dismissing or

   staying this federal declaratory judgment action.

                 3.     Efficiency Concerns – Whether the federal court is a
                        convenient forum for the parties and witnesses; Whether
                        retaining the lawsuit in federal court would serve the
                        purposes of judicial economy.




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          Trejo factor 5 requires the court to consider the convenience of the Louisiana forum.

   A review of the Geisler Petition shows that Geislers and the other non-named parties in this

   federal declaratory judgment action are Texas residents or entities. The Texas venue is likely

   most convenient for these parties. Relative to the parties in this federal declaratory judgment

   action, it is noted that Leam has multiple offices, to include offices in Texas and Louisiana,

   and while Petrohawk’s main office is in Texas, it does business in several states, to include

   Louisiana. Liberty Mutual and Federal are insurance companies that presumably conduct

   business on a national scope. Furthermore, Liberty Mutual is providing a defense to

   Petrohawk in the Texas court action and Leam is a third party defendant in that action, which

   shows it would not be inconvenient for these parties to litigate these state law issues in the

   Texas court. Lastly, although it is somewhat premature to forecast, witnesses are likely

   located in both Texas and Louisiana. For all of these reasons, the convenience of the parties

   and witnesses appears to be a neutral factor that does not weigh in favor of keeping or

   dismissing the action.

          In contrast, judicial economy is best served by dismissing and/or staying the federal

   declaratory judgment action. This would allow the state court to consider all of the issues

   involved in this suit – liability for Mr. Geisler’s injuries, defenses thereto, and the existence

   of indemnity, defense and additional insured status – in the presence of all of the pertinent

   parties. See Drilling Productivity Realized, LLC v. Lovett, 2008 WL 2559299, *4, W.D. La.

   6/5/08) (“[r]etaining the declaratory action would not serve the purposes of judicial economy



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   since the pending declaratory action only addresses one issue in the case). The determination

   of all issues by a single court also serves to avoid piecemeal litigation. Id. (“[c]learly,

   allowing all issues to be tried at one time would serve judicial economy rather than the

   piecemeal litigation that would result if the declaratory judgment is allowed to proceed”).

   Further, any factual findings pertinent to the incident and/or the operations of the parties

   would be found by a singular court, thus avoiding the potential for inconsistent findings. See

   Sherwin-Williams, supra, 343 F.3d at 390 (“[d]uplicative litigation may also raise federalism

   or comity concerns because of the potential for inconsistent state and federal court

   judgments, especially in cases involving state law issues”).

          The efficiency factors, when considered in toto, weigh in favor of dismissing or

   staying this action.

                 4.       Federalism and Comity – Whether the federal court is being
                          called on to construe a state judicial decree involving the
                          same parties and entered by the court before whom the
                          parallel state suit is pending between the same parties is
                          pending.

          The last Trejo factor, i.e., whether the federal court is being called on to construe a

   state judicial decree involving the same parties and entered by the court before whom the

   parallel state suit between the same parties is pending, is another factor included within the

   federalism concerns. This factor is not relevant because the interpretation of a state judicial

   decree is not an issue in this case. See State Farm Fire & Cas. Co. v. LaFuria, Civ. A. 07-




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   1285, 2008 WL 5479635, *4 (W.D. La. 10/22/08), report and recommendation adopted,

   2009 WL 774102 (W.D. La. 1/7/09).

   III.   CONCLUSION

          Dismissal or, alternatively, a stay of this federal declaratory judgment action is

   warranted upon a consideration of the Trejo factors. This matter involves only state law

   issues. A state court suit is pending in which all issues can be determined, thereby avoiding

   the possibility of inconsistent rulings, piecemeal litigation, and serving the interests of

   judicial efficiency. For all of these reasons, this Motion to Dismiss or, alternatively, Motion

   to Stay should be granted.

                                               RESPECTFULLY SUBMITTED,

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                               CERTIFICATE OF SERVICE

          I hereby certify that on the 15th day of March, 2011, a copy of the foregoing
   Memorandum was filed electronically with the Clerk of Court using the CM/ECF system.
   Notice of this filing will be sent to all counsel of record by operation of the court’s electronic
   filing system.


                                         s/John P. Wolff, III
                                        JOHN P. WOLFF, III




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